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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                 10/08/2020
                                                                       :
CRAIG WILKINS,                                                         :
                                                                       :
                                    Plaintiff,                         :
                                                                       :    20-CV-543 (JPC)
                  -v-                                                  :
                                                                       :      NOTICE OF
SPECIALIZED LOAN SERVICING, LLC,                                       :    REASSIGNMENT
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        This case has been reassigned to the undersigned. All parties must familiarize themselves

with the Court’s Individual Rules, including the Court’s Individual Rules and Practices for

Pro Se Litigants, which are available at https://www.nysd.uscourts.gov/hon-john-p-cronan.

Unless and until the Court orders otherwise, all prior orders, dates, and deadlines shall remain in

effect notwithstanding the case’s reassignment. The Initial Pretrial Conference (“IPTC”) scheduled

for October 21, 2020 at 11:30 a.m. shall take place as scheduled. In light of the ongoing COVID-

19 pandemic, the Court will conduct the IPTC by teleconference. At the scheduled time, parties

should call (866) 434-5269, access code 9176261. Absent leave of Court obtained by letter-motion

filed before the conference, all pretrial conferences must be attended by the attorney who will serve

as principal trial counsel for any represented party.

        During this conference, the parties shall be prepared to discuss the following topics:

        1.       The nature of the case and/or the principal defenses thereto;

        2.       Any contemplated motions;

        3.       The basis for subject matter jurisdiction; and

        4.       Whether the parties have discussed the use of alternate dispute resolution
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               mechanisms and whether the parties believe that (a) a settlement conference before

               a Magistrate Judge; (b) participation in the District’s Mediation Program; and/or (c)

               retention of a privately retained mediator would be appropriate and, if so, when in

               the case (e.g., within the next sixty days, after the deposition of plaintiff is

               completed, after the close of fact discovery, etc.) the use of such a mechanism would

               be appropriate.

It is further ORDERED that the parties shall submit to the Court by October 16, 2020 a proposed

case management plan and scheduling order, a template of which is available at

https://www.nysd.uscourts.gov/hon-john-p-cronan.

       In accordance with the Court’s Individual Rules, requests for extensions or adjournment

must be made in writing and must be received at least 48 hours (i.e., two business days) before the

deadline or scheduled appearance, absent compelling circumstances. The written submission must

state (1) the original date(s) set for the appearance or deadline(s) and the new date(s) requested;

(2) the reason(s) for the request; (3) the number of previous requests for adjournment or extension;

(4) whether these previous requests were granted or denied; and (5) whether the opposing party

consents, and, if not, the reasons given by the opposing party for refusing to consent.

       The Clerk of the Court is respectfully directed to mail a copy of this Order to Plaintiff.



       SO ORDERED.

Dated: October 8, 2020                               __________________________________
       New York, New York                                     JOHN P. CRONAN
                                                            United States District Judge




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